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     50 Walnut Street, Courtroom MLK 4C
     Newark, NJ 07101

     RE:     CIOFFI, MICHAEL V. BOROUGH OF ENGLEWOOD CLIFFS, et al.
             Our File No.   : 85341 ELH
             Docket No.     : 2:16-CV-04536-WJM-MF

     Dear Judge Martini:

     We represent Defendant Carrol McMorrow in this matter. On Friday, February 9, 2018,
     we filed a Motion to Dismiss Plaintiff’s Second Amended Complaint against Carrol
     McMorrow pursuant to F.R.C.P. 12(b)(6) and 12(c). On February 13, 2018, the Borough
     of Englewood Cliffs and Defendants Nunzio Consalvo and Mark Park filed a Motion to
     Dismiss pursuant to F.R.C.P 12(b)(6).

     Defendant Carrol McMorrow joins in the arguments made by these Co-defendants related
     to legislative immunity at Point 3A of their brief. (ECF No. 48-1). As such, in addition to
     the arguments made in Defendant McMorrow’s moving brief, legislative immunity lends
     further support for the dismissal of the conspiracy claim against Carrol McMorrow at
     Count XII based upon the Council’s vote to create a “police director” position by amending
     an existing ordinance.

                                                          Respectfully submitted,
                                                          METHFESSEL & WERBEL, ESQS.


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  Our File No. 85341 ELH
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